           Case: 1:21-cr-00323 Document #: 199-1 Filed: 05/21/24 Page 1 of 10 PageID #:1488


Rathbun, Todd D. (SF) (FBI)

From:                                Cornell Heldenbrand <Cornell.Heldenbrand@jbhunt.com>
Sent:                                Wednesday, April 1, 2020 11:42 AM
To:                                  Rathbun, Todd D. (CG) (FBI)
Subject:                             RE: Load data request


I will get this one added.

Thanks,



Cornell Heldenbrand
Director, Corporate Security
479.820.8488 (O) 479.381.2411(M)
www.jbhunt.com



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Truckload | Refrigerated | LTL | Single Source


From: Rathbun, Todd D. (CG) (FBI) <tdrathbun@fbi.gov>
Sent: Wednesday, April 1, 2020 1:42 PM
To: Cornell Heldenbrand <Cornell.Heldenbrand@jbhunt.com>
Subject: Re: Load data request

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sender and know the content is safe.



Cornell, I have one more carrier to add to that list:



Pacella Trucking Express, Inc.



Thanks,

Todd




From: Rathbun, Todd D. (CG) (FBI)
Sent: Wednesday, April 1, 2020 1:21:20 PM

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To: Cornell Heldenbrand <Cornell.Heldenbrand@jbhunt.com>
Subject: Load data request


Cornell,



If available, can you please pull load/shipment data for the following carriers?



- R T S T Express, Inc. (RTST Express, Inc.)

- Red Star 91, Inc.



For those carriers, i'd love to just see their volume over the past few years. For example, all shipments they
did from 2017-2020. I'm hoping to be able to look at the volume trend.



Can you please have the same data pulled for the previously discussed carriers, which were:



- Xtrade Sales 1, Inc.

- Equus Trans, LLC

- FLT Logistics, LLC (F L T Logistics, LLC)



Thanks again,

Todd



SA Todd Rathbun
FBI - Chicago
2111 W. Roosevelt Rd.
Chicago, IL 60608
Desk: 312-829-8859
Cell: 312-965-7082
Email: tdrathbun@fbi.gov


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Rathbun, Todd D. (SF) (FBI)

From:                              Cornell Heldenbrand <Cornell.Heldenbrand@jbhunt.com>
Sent:                              Wednesday, April 22, 2020 1:19 PM
To:                                Rathbun, Todd D. (CG) (FBI)
Subject:                           updated sheet
Attachments:                       Midwest OS Carrier Data v3 - Steel Wheel Exclude.xlsx


Looks like the found some additional loads for this. Here is the updated sheet.

Thanks,



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Rathbun, Todd D. (SF) (FBI)

From:                                Cornell Heldenbrand <Cornell.Heldenbrand@jbhunt.com>
Sent:                                Friday, May 1, 2020 10:36 AM
To:                                  Rathbun, Todd D. (CG) (FBI)
Subject:                             RE: updated sheet


We will start working on that data. Bill is available for a call on Tuesday afternoon, what time works for you and I will
get this set up?

Thanks,



Cornell Heldenbrand
Director, Corporate Security
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From: Rathbun, Todd D. (CG) (FBI) <tdrathbun@fbi.gov>
Sent: Friday, May 1, 2020 7:46 AM
To: Cornell Heldenbrand <Cornell.Heldenbrand@jbhunt.com>
Subject: Re: updated sheet

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sender and know the content is safe.


Cornell,

Can the auditors also provide the total volumes for those months for the division/group Xtrade is in ('outside
carriers')? For example, when Xtrade handled 2,215 loads in October 2018 for $xxxx million, what were the
total loads/$$ handled by all the outside dray carriers? That way I can show what percentage of the volume
Xtrade was receiving.

My understanding is that JB Hunt used 10-15 outside carriers like Xtrade, and then trimmed that down to a
much smaller number (just a few) in mid-2019 such that Xtrade became one of (if not the) largest used carriers
in that area.

I'm happy to discuss this on the phone with you or the auditors if necessary,

Thanks,
Todd
312-965-7082


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From: Rathbun, Todd D. (CG) (FBI) <tdrathbun@fbi.gov>
Sent: Friday, May 1, 2020 7:22 AM
To: Cornell Heldenbrand <Cornell.Heldenbrand@jbhunt.com>
Subject: Re: updated sheet

Cornell, can you please request your auditors incorporate monetary values into this file/data? I'd like to be
able to show the significance of the volume. For example, when Xtrade handled 2,215 loads in October 2018,
I'd like to show that equaled $xxx million dollars (or whatever the figure might be). Let me know if they're
able to do that.

Thanks again,
Todd


From: Cornell Heldenbrand <Cornell.Heldenbrand@jbhunt.com>
Sent: Wednesday, April 22, 2020 3:19 PM
To: Rathbun, Todd D. (CG) (FBI) <tdrathbun@fbi.gov>
Subject: updated sheet

Looks like the found some additional loads for this. Here is the updated sheet.

Thanks,




Cornell Heldenbrand
Director, Corporate Security
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Rathbun, Todd D. (SF) (FBI)

From:                              Cornell Heldenbrand <Cornell.Heldenbrand@jbhunt.com>
Sent:                              Tuesday, May 5, 2020 8:41 AM
To:                                Rathbun, Todd D. (CG) (FBI)
Subject:                           additional data request.
Attachments:                       Midwest OS Carrier Data v4.xlsx


Additional data. Let me know if you need anything else.

Thanks,



Cornell Heldenbrand
Director, Corporate Security
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Rathbun, Todd D. (SF) (FBI)

From:                                Cornell Heldenbrand <Cornell.Heldenbrand@jbhunt.com>
Sent:                                Wednesday, May 19, 2021 4:02 PM
To:                                  Rathbun, Todd D. (CG) (FBI)
Subject:                             [EXTERNAL EMAIL] - RE: additional data request.


Spreadsheet was too large to email. Use this link. Let me know if you have any trouble.

https://www.dropbox.com/sh/s4flpqmkk50ffi8/AAByGPS0yXiu0XxkPgmLU_4Wa?dl=0

Thanks,




Cornell Heldenbrand
Sr. Director, Corporate Security
479.820.8488 (O) 479.381.2411(M)
www.jbhunt.com



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From: Todd Rathbun <tdrathbun@fbi.gov>
Sent: Wednesday, May 19, 2021 6:43 AM
To: Cornell Heldenbrand <Cornell.Heldenbrand@jbhunt.com>
Subject: Re: additional data request.

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sender and know the content is safe.

Great, thank you

From: Cornell Heldenbrand <Cornell.Heldenbrand@jbhunt.com>
Sent: Tuesday, May 18, 2021 11:35:18 PM
To: Rathbun, Todd D. (CG) (FBI) <tdrathbun@fbi.gov>
Subject: [EXTERNAL EMAIL] - RE: additional data request.

Asking our team to jump on this first thing in the morning.

Thanks,




Cornell Heldenbrand
Sr. Director, Corporate Security
479.820.8488 (O) 479.381.2411(M)
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From: Todd Rathbun <tdrathbun@fbi.gov>
Sent: Tuesday, May 18, 2021 9:58 PM
To: Cornell Heldenbrand <Cornell.Heldenbrand@jbhunt.com>; Cornell Heldenbrand <cheldenbrand@icloud.com>
Subject: Fw: additional data request.

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sender and know the content is safe.


Hi Cornell,

I have a somewhat urgent request. On Wednesday, can you see if your data team can add something to the
attached V4 file for me?

In a previous version (V3 - also attached for reference), they included a column in the "Standard Loads Detail"
tab titled "ORDER_NBR" (Column B). Can you please have them add that column to the same tab in
V4? Everything else should stay identical, I just need that one column added to assist me with tying out some
revenue figures.

Thank you, and I will likely have an update for you on this matter within the week. I'll be in touch.

Thanks,
Todd




From: Cornell Heldenbrand <Cornell.Heldenbrand@jbhunt.com>
Sent: Tuesday, May 5, 2020 10:41 AM
To: Rathbun, Todd D. (CG) (FBI) <tdrathbun@fbi.gov>
Subject: additional data request.

Additional data. Let me know if you need anything else.

Thanks,




Cornell Heldenbrand
Director, Corporate Security
479.820.8488 (O) 479.381.2411(M)
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